          Case 1:18-cv-03957-GHW Document 103 Filed 11/03/20 Page 1 of 2
                                                                        USDC SDNY
                                                                        DOCUMENT
                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 11/3/20
------------------------------------------------------------------X
  GERMAIN ISMAEL,                                                 :
                                                                  :
                                                                  :
                                               Plaintiff,         :        1:18-cv-3957-GHW
                                                                  :
                              -against-                           :            ORDER
                                                                  :
  CAPTAIN “JANE” COMACHO, et al.,                                 :
                                                                  :
                                             Defendants.          :
------------------------------------------------------------------X


GREGORY H. WOODS, United States District Judge:
         Due to the on-going novel coronavirus pandemic, the Southern District of New York has

enacted certain protocols designed to ensure the safety of anyone appearing in any Southern District

courthouse. This includes a requirement that every person appearing in a Southern District of New

York courthouse complete a questionnaire and have their temperature taken. Instructions for

completing this questionnaire are attached.

         Counsel are directed to ensure their clients, witnesses, and members of their trial team are

provided with a copy of this order and its attachment. Completing the questionnaire ahead of time

will save time and effort upon entry. Only those individuals who meet the entry requirements

established by the questionnaire will be permitted entry. Please contact chambers if any member of

your team does not meet the requirements.

 SO ORDERED.

 Dated: November 3, 2020                                      _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.
